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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

NEW ENGLAND SPORTS NETWORK, L.P.,

                   Plaintiff,

       v.
                                                  Civil Action No. 22-CV-10024-ADB
ALLEY INTERACTIVE LLC (CT), ARIEL
LEGASSA, and NILDA LEGASSA,

                   Defendants.


  Plaintiff’s Limited Opposition to Defendants Ariel Legassa and Alley Interactive LLC’s
                           Motion to Further Extend Time to Respond


       Plaintiff New England Sports Network, L.P. (“NESN”) opposes Defendants Ariel

Legassa and Alley Interactive LLC’s Motion only insofar as Defendants request that any hearing

on Defendants’ Motion to Dissolve Attachments be scheduled for a date before all Defendants

have responded to the Amended Complaint.


                                                By Its Attorneys,



                                                /s/ Christopher M. Morrison
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Dated: February 28, 2022
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that, on February 28, 2022, the foregoing was filed through the

Court’s ECF system and will be sent electronically to the registered participants.


                                               /s/ Christopher M. Morrison_
                                             Attorney for Defendants




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